        Case: 23-15087, 09/05/2023, ID: 12786920, DktEntry: 88, Page 1 of 1




                    UNITED STATES COURT OF APPEALS                        FILED
                            FOR THE NINTH CIRCUIT                          SEP 5 2023
                                                                      MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
COALITION ON HOMELESSNESS; et al.,               No.   23-15087

                Plaintiffs-Appellees,            D.C. No. 4:22-cv-05502-DMR
                                                 Northern District of California,
 v.                                              Oakland

CITY AND COUNTY OF SAN                           ORDER
FRANCISCO; et al.,

                Defendants-Appellants.

Before: BUMATAY, KOH, and DESAI, Circuit Judges.

      The City’s motion to modify the preliminary injunction raises the sole issue

of the definition of “involuntarily homeless.” Because the parties agree that a

person is not involuntarily homeless if they have declined a specific offer of

available shelter or otherwise have access to such shelter or the means to obtain it,

and because the district court has denied the plaintiffs’ motion to enforce the

injunction, the City’s motion to modify the preliminary injunction is DENIED

WITHOUT PREJUDICE. The court will address all the other issues raised by

the appeal in due course.
